Case 2:20-cr-00326-JFW Document 1256-2 Filed 01/22/24 Page 1 of 3 Page ID #:29533




                ATTACHMENT B
 Case 2:20-cr-00326-JFW Document 1256-2 Filed 01/22/24 Page 2 of 3 Page ID #:29534

Bernard C. Parks
Chief, Los Angeles Police Department (Ret.)

8th District Councilmember, City of Los Angeles (Ret.)

                , Los Angeles, CA 90043




           January 21, 2024

           The Honorable John F. Walter
           United States Courthouse- #7A
           350 West 1st Street
           Los Angeles, CA 90012



           Dear Judge Walter,

           I am writing concerning Case No. 2:20-cr-00326-JFW: The United States of America v. Jose
           Luis Huizar.

           After reading about the prosecution’s sentencing recommendation of 13 years for Mr. Huizar, I
           thought the court could benefit from a fresh perspective on the matter.

           I served on the Los Angeles City Council with Mr. Huizar from the time of his election in 2005 to
           the time of my retirement in 2015. And, I can tell you plainly that Mr. Huizar’s pre-indictment
           behavior while in elected office also left much to be desired. He dragged the city into his very
           well-documented sexual harassment case, which involved a city employee. And, his overreach to
           acquire the majority of downtown unnecessarily and— some might say— illegally made two of the
           city’s poorest districts even poorer. Though these two aforementioned actions are not a part of
           this federal case, they both planted the seeds for his criminal activity.

           As you know, Mr. Huizar used a portion of his bribe money to pay for the settlement in his sexual
           harassment suit; an illegal act used to make an instance of inappropriate behavior disappear.

           And, then there was the redistricting process of 2011-2012, when Mr. Huizar feverishly
           campaigned for and received the very same downtown properties that would lead to his
           downfall. His district did not include these downtown areas before redistricting. Mr. Huizar’s
           unexplainable urge to advocate for a plan that drastically changed his district and the people
           who elected him was puzzling until the federal government revealed the details of his
           indictment. Once it all came to light, former Councilmember Jan Perry and I wrote an opinion
           piece in the LA Times on how redistricting aided his crimes1.

           This city is at a crossroads. Due to the numerous political indictments over the last several years,
           corruption has stopped becoming the exception and has very much become the rule. That is
           why I ask that you consider sentencing Mr. Huizar to the highest penalty that his crimes allow. It


           1 https://www.latimes.com/opinion/story/2020-08-10/op-ed-how-jose-huizars-alleged-crimes-hay-

           have-been-aided-by-redistricting
Case 2:20-cr-00326-JFW Document 1256-2 Filed 01/22/24 Page 3 of 3 Page ID #:29535


        would serve as an example to those in of ce as well as those considering running for of ce.
        Furthermore, it would send a strong message to the criminal element that existed at the time of
        Mr. Huizar’s self dealing and, sadly, continues to exist there to this day.

        Mr. Huizar did not acquire his downtown cash cow by himself. There were a number of
        unindicted co-conspirators, if you will, who were located inside and around city hall and assisted
        him in this mission. To do this, they ignored proper procedure, ethical accountability, the rights
        and input of the public and the law.

        The second phase of Mr. Huizar's scheme mimicked organized crime at its nest. Like most
        corrupt enterprises, many lower ranking members of city government and even his own family
        members were drawn into his crimes— some knowingly, others unknowingly. Indeed, a statement
        needs to be made with this sentencing; one that can be heard and felt by not only the
        wrongdoers— but also the ones who surround them.

        I served this city for 50 years, and growing up on the police department, you would hear stories
        about the crooked politicians and police department of the 1930s, when the corruption was so
        bad that a mayor was recalled, LAPD promotions were for sale and a judge had to come in and
        run the city.

        Huizar’s egregious acts rank right up there with those that took place in Depression-era LA. From
        his creation of a criminal enterprise to the hundreds of thousands of dollars found in his
        bedroom closet, he routinely abused the powers of his of ce and enjoyed the fruits of his
        misbehavior.

        In total, Mr. Huizar violated his elected oath of of ce and his state bar code of ethics. He failed his
        family by becoming a poor example to his children and by including a parent and a sibling in his
        fraudulent activities. And, he failed the community that elected him, his colleagues who
        supported him and the entire City of Los Angeles.

        We need to hold our electeds to a higher standard.

        Respectfully,




        BERNARD C. PARKS
        Chief/Councilmember, Retired
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